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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA                     )
                                               )
                         Plaintiff,            ) CAUSE NUMBER: 1:24-cr-00143-JPH-KMB-1

                 v.                            )
                                               )
  James Watt                                   )
                                               )
                         Defendant.            )


                                      APPEARANCE OF COUNSEL


  TO: CLERK OF COURT


         Please enter the appearance of Julie Treida as counsel for the Defendant, James Watt, in

  the role of retained counsel.

  Dated: August 16, 2024

                                                       /s/ Julie Treida
                                                       Julie Treida 27351-71
                                                       Treida Law, PC
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                                      CERTIFICATE OF SERVICE


         I hereby certify that a copy of the foregoing was filed electronically. Notice of this filing

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                                           /s/ Julie Treida
                                           Julie Treida 27351-71
